Case 4:20-cv-00321-SDJ Document 1-1 Filed 04/16/20 Page 1 of 3 PageID #: 32
 Case 4:20-cv-00321-SDJ Document 1-1 Filed 04/16/20 Page 2 of 3 PageID #: 33



                        Attachment to Civil Cover Sheet

                                   Defendants

Regents of the University of North Texas—Chair Laura Wright, Vice Chairman
Milton Lee, Melisa Denis, Mary Denny, Daniel Feehan, A.K. Mago, Carlos
Munguia, Brint Ryan, and John Scott Jr.—each individually and in his or her
official capacity;

Lesa Roe, Chancellor of the University of North Texas System, individually and in
her official capacity;

Neal Smatresk, President of the University of North Texas, individual and in his
official capacity;

Jennifer Evans-Cowley, Provost and Vice President for Academic Affairs of the
University of North Texas, individually and in her official capacity;

Su Gao, Dean of the College of Science of the University of North Texas,
individually and in his official capacity;

Ralph Schmidt, Chair of the Department of Mathematics of the University of North
Texas, individually and in his official capacity;

and

William Cherry, Associate Chair of the Department of Mathematics of the
University of North Texas, individually and in his official capacity.




                                         1
 Case 4:20-cv-00321-SDJ Document 1-1 Filed 04/16/20 Page 3 of 3 PageID #: 34



                   Attachment to Civil Cover Sheet (cont’d)

                             Attorneys for Plaintiff

Thomas S. Brandon, Jr.                       Tyson C. Langhofer*
Texas Bar No. 02881400                       Kansas Bar No. 19241
WHITAKER CHALK SWINDLE &                     ALLIANCE DEFENDING FREEDOM
SCHWARTZ, PLLC                               20116 Ashbrook Place
301 Commerce Street                          Suite 250
Suite 3500                                   Ashburn, VA 20147
Fort Worth, TX 76102                         Telephone: (316) 265-8800
Telephone: (817) 878-0532                    Facsimile: (316) 265-1349
Facsimile: (817) 878-0501                    tlanghofer@ADFlegal.org
tbrandon@whitakerchalk.com
                                             David A. Cortman
Michael R. Ross*                             Georgia Bar No. 188810
Tennessee Bar No. 035304                     ALLIANCE DEFENDING FREEDOM
ALLIANCE DEFENDING FREEDOM                   1000 Hurricane Shoals Road NE
20116 Ashbrook Place                         Suite D-1100
Suite 250                                    Lawrenceville, GA 30043
Ashburn, VA 20147                            Telephone: (770) 339-0774
Telephone: (316) 265-8800                    Facsimile: (770) 339-6744
Facsimile: (316) 265-1349                    dcortman@ADFlegal.org
mross@ADFlegal.org


*Applications for admission pro hac vice are forthcoming.




                                         2
